              Case 5:23-cv-01424-PCP Document 43 Filed 10/06/23 Page 1 of 2




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18                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
19
     FIND THE ORIGIN, INC., a Delaware
20
     Corporation,                                CASE NO. 5:23-CV-01424-PCP
21
                                    Plaintiff,   NOTICE OF CHANGE OF COUNSEL
22
                   v.                            Judge’s info: Hon. P. Casey Pitts
23
                                                 Complaint Filed: March 27, 2023
24   ORIGIN B.V., a Kingdom of the Netherlands
     Corporation, and DOES 1 through 10,
25
                                    Defendant.
26

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              Case 5:23-cv-01424-PCP Document 43 Filed 10/06/23 Page 2 of 2




 1          PLEASE TAKE NOTICE that DAVID E. TOOMEY, attorney, hereby withdraws as

 2   attorney of record for Defendant ORIGIN B.V. in this action. Counsel of record for Defendant

 3   otherwise remains the same.

 4          DATED this 6th day of October, 2023.

 5                                                  Respectfully submitted,
 6

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